Case 2:17-cv-07681-GW-JC Document 13-1 Filed 11/15/17 Page 1 of 2 Page ID #:1089




          EXHIBIT 1
Case 2:17-cv-07681-GW-JC Document 13-1 Filed 11/15/17 Page 2 of 2 Page ID #:1090




 1                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 2
                              WESTERN DIVISION
 3
     INTELLECTUAL VENTURES II                 Case No. 2:17-cv-7681-GW-JC
 4
     LLC,
 5
                 Plaintiff,                   [PROPOSED] ORDER STAYING
 6
                                              ACTION PENDING RESOLUTION OF
     v.
 7                                            PARALLEL ITC PROCEEDINGS
 8   TOYOTA MOTOR CORPORATION,
     et al.
 9
                  Defendants.
10
11
12                In light of the Joint Stipulation and Order to Stay Pending Resolution of
13   Parallel ITC Proceedings filed by Plaintiff Intellectual Ventures II LLC and Specially
14   Appearing Defendants Toyota Motor North America, Inc., Toyota Motor Sales,
15   U.S.A., Inc., Toyota Motor Engineering & Manufacturing, North America, Inc.,
16   Toyota Motor Manufacturing, Indiana, Inc., and Toyota Motor Manufacturing,
17   Kentucky, Inc., the above-captioned action is hereby STAYED pursuant to 28 U.S.C.
18   § 1659(a) until 30 days after such time as the United States International Trade
19   Commission’s determination in the Section 337 investigation titled In the Matter of
20   Certain Thermoplastic-Encapsulated Electric Motors, Components Thereof, and
21   Products and Vehicles Containing Same II, Inv. No 337-TA-1073, becomes final.
22                IT IS SO ORDERED.
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                                              1                         Case No. 2:17-cv-7681-GW-JC
